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                        Main Document    Page 1 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
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Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 3 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 4 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 5 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 6 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 7 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 8 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 9 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 10 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 11 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 12 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 13 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 14 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 15 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 16 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 17 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 18 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 19 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 20 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 21 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 22 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 23 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 24 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 25 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 26 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 27 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 28 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 29 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 30 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 31 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 32 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 33 of 70
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                        Main Document    Page 34 of 70
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                        Main Document    Page 35 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 36 of 70
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                        Main Document    Page 37 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 38 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 39 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 40 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 41 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 42 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 43 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 44 of 70
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                        Main Document    Page 45 of 70
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                        Main Document    Page 46 of 70
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                        Main Document    Page 47 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 48 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 49 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 50 of 70
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                        Main Document    Page 51 of 70
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                        Main Document    Page 52 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 53 of 70
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                        Main Document    Page 54 of 70
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                        Main Document    Page 55 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 56 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 57 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 58 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 59 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 60 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 61 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 62 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 63 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 64 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 65 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 66 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 67 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 68 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 69 of 70
Case 8:18-bk-10946-CB   Doc 1 Filed 03/20/18 Entered 03/20/18 15:06:53   Desc
                        Main Document    Page 70 of 70
